                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


 JOHN DOE,

                            Plaintiff,

                     v.

 ALASKA PACIFIC UNIVERSITY,                     Case No. 3:18-cv-00188-HRH

                            Defendant.


                      ORDER FOR SETTLEMENT CONFERENCE

     1.    CALENDARING. A Settlement Conference is calendared for December 21,

2018, at 9 a.m. before District Judge Sharon Gleason. The settlement conference will

commence in Courtroom 3 of the James M. Fitzgerald U.S. Courthouse and Federal

Building, located at 222 West 7th Avenue in Anchorage, Alaska.

     2.    ATTENDANCE AND PARTICIPATION

           a.   The following persons must attend or participate in the conference: (1) the

attorney who will be lead trial counsel for each participating party must be present in

person; (2) individual parties, and a representative of parties who are not individuals, must

be present in person; (3) insurers, adjusters, risk managers, or executives with the

ultimate authority to settle this case for each party must be present in person or

immediately available by telephone.

           b.   Attorneys and parties may not participate telephonically absent prior

approval by the settlement judge.        Anyone, including an insurer, who participates

telephonically must be available by telephone for the duration of the conference,

regardless of the time at the individual’s locale.



          Case 3:18-cv-00188-HRH Document 18 Filed 11/21/18 Page 1 of 2
     3.   SETTLEMENT BRIEFS

          a.   By December 14, 2018, each party must lodge a candid, concise

settlement brief that is no more than five pages, not including attachments. Settlement

briefs are not required to be exchanged. The settlement brief shall include, but need not

be limited to: (1) a history of the settlement negotiations in this case; and (2) an

identification of the strengths and weaknesses of each party’s case.

          b.   The briefs must be lodged in a sealed envelope delivered to Judge

Gleason’s Chambers. The briefs are confidential and will not become part of the record.

After the conference, the settlement conference judge will return or destroy all briefs.

     DATED this 21st day of November, 2018 at Anchorage, Alaska.

                                                 s/Sharon L. Gleason
                                                 UNITED STATES DISTRICT JUDGE




3:18-cv-00188-HRH, Doe v. Alaska Pacific University
Order for Settlement Conference
Page 2 of 2
        Case 3:18-cv-00188-HRH Document 18 Filed 11/21/18 Page 2 of 2
